     Case 8:19-cv-03094-TPB-SPF Document 1 Filed 12/17/19 Page 1 of 7 PageID 1



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

LEE BROWN,

               Plaintiff,

v.                                                                CASE NO.:

ARTISTIC GENERAL CONTRACTING USA, INC.,
a Florida Profit Corporation, and
JASON S. WELLING, individually,

           Defendants.
_________________________________________/

                      COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff, LEE BROWN (“Plaintiff”), hereby sues the Defendants, ARTISTIC

GENERAL CONTRACTING USA, INC. (“AGC”) and JASON S. WELLING (“WELLING”)

(collectively “Defendants”) and alleges as follows:

                            JURISDICTION, VENUE AND PARTIES

         1.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and

28 U.S.C. § 1343.

         2.    Venue is proper in this Court because all facts material to all claims set forth

herein occurred in Polk County, Florida.

         3.    At all times material, Plaintiff is and was a resident of Florida.

         4.    At all times material, Defendant AGC was/is a Florida Profit Corporation

authorized to conduct business in the State of Florida, with its principal place of business

at 6790 New Tampa Hwy., Suite 209, Lakeland, FL 33815.

         5.    At all times material, Defendant WELLING is and was a resident of Polk

County.


                                      · LECHNER LAW ·
 Case 8:19-cv-03094-TPB-SPF Document 1 Filed 12/17/19 Page 2 of 7 PageID 2



                              GENERAL ALLEGATIONS

      6.     Defendant AGC is a company that provides renovation services throughout

the United States for hotel, resort and timeshare companies, including Marriott, Holiday

Inn, Wyndham and others.

      7.     Defendant WELLING is the President and owner of AGC. In that position,

WELLING exercises significant control over the company’s operations, has the power to

hire and fire employees, the power to determine salaries, the responsibility to maintain

employment records and has operational control over significant aspects of the

company’s day-to-day functions.

      8.     Defendants are employers as defined by the Fair Labor Standards Act, as

amended, 29 U.S.C. § 216(b), et seq. (“FLSA”).

      9.     At all material times, Defendants were an enterprise covered by the FLSA,

and as defined by 29 U.S.C. §203(r) and 203(s) and during all relevant times had at least

two employees and had an annual dollar volume of sales or business done of at least

$500,000.

       10.   Plaintiff was engaged in interstate commerce during his employment with

Defendants, including travelling out of state and performing work outside of Florida.

      11.    Plaintiff was employed by Defendants during the relevant time period as an

“assistant superintendent,” but his primary duty was production work that did not involve

managerial responsibilities or the exercise of discretion and independent judgment with

respect to matters of significance. By way of example, Plaintiff’s primary job duties

included cleaning, vacuuming, performing basic handyman functions, following the

direction of the lead superintendents, and even performing handyman duties for the



                                            2
 Case 8:19-cv-03094-TPB-SPF Document 1 Filed 12/17/19 Page 3 of 7 PageID 3



owners at their own personal homes.

      12.    This action is brought under the FLSA to recover unpaid overtime

compensation owed to Plaintiff.

      13.    Plaintiff was an employee of Defendants under the FLSA.

      14.    Plaintiff was employed by Defendants from November 2018 through

November 2019. During this time period, Defendant misclassified him as exempt from

the overtime requirements of the FLSA.

      15.    Based upon Plaintiff’s job duties and responsibilities, he should have been

classified as non-exempt, and was entitled to overtime compensation for all hours worked

over 40 in every workweek.

      16.    Plaintiff’s primary duty did not involve managing the enterprise, or managing

a customarily recognized department or subdivision of the enterprise.

      17.    Plaintiff’s primary duty did not involve customarily and regularly directing the

work of at least two or more other full-time employees or their equivalent.

      18.    Plaintiff’s primary duty did not include the authority to hire or fire other

employees.

      19.    Plaintiff’s suggestions or recommendations as to the hiring, firing,

advancement, promotion or any other change of status of other employees was not given

particular weight by the Defendants.

      20.    When he was hired, Plaintiff was led to believe that his job would be 40

hours per week. There was never any understanding with Defendants that he would

receive a fixed amount as straight-time pay for whatever hours he was called upon to

work in a workweek, whether few or many.



                                             3
  Case 8:19-cv-03094-TPB-SPF Document 1 Filed 12/17/19 Page 4 of 7 PageID 4



       21.    Plaintiff worked 80 to 90 hours per week throughout his employment with

Defendants. Plaintiff’s hours never fluctuated below 40 hours in any workweek.

       22.    Plaintiff was not paid on a salary basis as defined by the FLSA because his

weekly pay was reduced based on the quantity of work, including deductions for hours

missed due to sickness.

       23.    Defendants failed to comply with the FLSA because Plaintiff was regularly

required to work in excess of forty (40) hours a workweek but was not paid overtime

compensation as required by the FLSA.

       24.    Defendant WELLING is subject to individual liability under the FLSA

because he acted directly or indirectly in the interest of the employer in relation to Plaintiff,

exercised significant control over the company’s operations, has the power to hire and

fire employees, the power to determine salaries, the responsibility to maintain

employment records and has operational control over significant aspects of the

company’s day-to-day functions.

       25.    Defendants’ violations of the FLSA were knowing, willful and in reckless

disregard of the rights of Plaintiff and all other similarly situated. Defendants did not have

reasonable grounds for believing that their acts were not a violation of the FLSA.

       26.    Plaintiff has been required to retain the undersigned counsel to represent

him in this action and is obligated to pay them a reasonable fee for their services.

                                    COUNT I
                       OVERTIME – FLSA (BOTH DEFENDANTS)

       27.    Plaintiff hereby incorporates by reference the allegations contained in

Paragraphs 1 to 26 as if fully restated herein.

       28.    During the three (3) year period prior to filing this action, Defendants failed

                                               4
  Case 8:19-cv-03094-TPB-SPF Document 1 Filed 12/17/19 Page 5 of 7 PageID 5



to pay Plaintiff overtime compensation for hours worked over forty (40) in a workweek.

       29.     Defendants’ failure to pay Plaintiff overtime compensation for hours worked

over forty (40) in any workweek constitutes a violation of the FLSA, 29 U.S.C. § 207.

       30.     Defendants’ violations of the FLSA were knowing, willful and in reckless

disregard of the rights of Plaintiff.

       WHEREFORE, Plaintiff respectfully requests that this Court issue an Order

awarding damages in the amount of the unpaid overtime compensation owed, awarding

liquidated damages pursuant to 29 U.S.C. § 216(b), awarding reasonable attorneys’ fees

and costs pursuant to 29 U.S.C. § 216(b), awarding injunctive relief requiring Defendants

to comply with the FLSA, and awarding all such other relief as the Court deems just and

appropriate.

                                     COUNT II
                      RETALIATION – FLSA (BOTH DEFENDANTS)

       31.     Plaintiff hereby incorporates by reference the allegations contained in

Paragraphs 1 to 26 as if fully restated herein.

       32.     Section 15(a)(3) of the FLSA states that it is a violation for any person to

“discharge or in any other manner discriminate against any employee because such

employee has filed any complaint or instituted or caused to be instituted any proceeding

under or related to this Act, or has testified or is about to testify in any such proceeding….”

       33.     Plaintiff complained to management about Defendants’ unlawful pay

practices which were violative of the FLSA.

       34.     To wit, on or about October 22, 2019 and on subsequent occasions

thereafter, Plaintiff complained to Defendant Welling and other members of Defendants’

management team about his long working hours and the Defendants’ failure to pay him

                                              5
  Case 8:19-cv-03094-TPB-SPF Document 1 Filed 12/17/19 Page 6 of 7 PageID 6



overtime.

       35.     By complaining to management about Defendants’ unlawful pay practices

which were violative of the FLSA, Plaintiff engaged in an activity protected by the FLSA.

       36.     In response to Plaintiffs’ statutorily protected activity, Defendants’ accused

Plaintiff of “wasting their time” and retaliated against him by terminating his employment

“effective as of 11-14-19.”

       37.     By being discharged, Plaintiff suffered an adverse action by Defendants

immediately subsequent to, and because of, his protected activity.

       38.     Plaintiff’s termination was directly caused by, and was a result of, his

protected activity.

       39.     By discharging Plaintiff because of his statutorily protected activity,

Defendants engaged in unlawful retaliation in violation of 29 U.S.C. § 215(a).

       40.     Plaintiff has suffered damages including lost wages, lost benefits, emotional

distress, anguish, interest and attorney’s fees and costs.

       WHEREFORE, Plaintiff demands judgment against Defendants and relief in the

form of: (i) Economic damages, including lost wages, benefits, and other remuneration;

(ii) Reinstatement of full fringe benefits; (iii) Front and back pay; (iv) Liquidated

damages; (v) Any other compensatory damages allowable under the law, including

emotional distress damages; (vi) Attorneys’ fees and costs pursuant to the FLSA; (vii)

Prejudgment and post-judgment interest; and (viii) Any other relief the Court deems

appropriate.

                                  JURY TRIAL DEMAND

       Plaintiff demands trial by jury as to all issues.



                                               6
Case 8:19-cv-03094-TPB-SPF Document 1 Filed 12/17/19 Page 7 of 7 PageID 7



    DATED this 17th day of December, 2019.

                                   Respectfully submitted,

                                   /s/ Jay P. Lechner________
                                   LECHNER LAW
                                   Jay P. Lechner, Esq.
                                   Florida Bar No.: 0504351
                                   Jay P. Lechner, P.A.
                                   Fifth Third Center
                                   201 E. Kennedy Blvd., Suite 412
                                   Tampa, Florida 33602
                                   Telephone: (813) 842-7071
                                   jplechn@jaylechner.com
                                   shelley@jaylechner.com
                                   Attorneys for Plaintiff




                                      7
